         Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 1 of 18




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-cr-123-PLF
                                               :
VITALI GOSSJANKOWSKI                           :
                                               :
                       Defendant.              :

            UNITED STATES’ SUPPLEMENTAL MEMORANDUM
IN OPPOSITION TO MOTION FOR A JUDGMENT OF ACQUITTAL OR NEW TRIAL

       Pursuant to the Court’s January 9, 2024, order, the government hereby submits its

supplemental memorandum addressing Judge Cooper’s recent decision in United States v.

Groseclose, No. 1:21-cr-311-CRC, ECF No. 99 (Jan. 5, 2024). As explained below, that decision

is helpful to the Court’s inquiry in several respects, even though it ultimately reached the wrong

conclusion. Groseclose is correct, first, that, if Section 1752’s federal-nexus requirement (i.e., that

“the President or other person protected by the Secret Service is or will be temporarily visiting,”

18 U.S.C. § 1752(c)(1)(B)) is “jurisdictional,” then the statute’s “knowing” scienter does not

extend to that nexus element. Groseclose is also correct that the question whether the federal-

nexus element is jurisdictional should be answered through the framework adopted by the Supreme

Court in United States v. Feola, 420 U.S. 671 (1975). And Groseclose is correct that a court

considering Section 1752 “as it stood when first enacted as part of the Omnibus Crime Control

Act of 1970, Pub. L. No. 91-644, 84 Stat. 1880, 1891-1892 (1971), … would be hard-pressed to

see meaningful daylight between Feola”—which did not extend a mens rea requirement to the

federal-nexus requirement presented in that case—and the present case. Groseclose, at 16. But

Groseclose took a wrong a turn when it then discerned a dispositive “reconceptualiz[ation]” of

Section 1752 in Congress’s 2006 amendments to that statute. As explained below, the modest
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 2 of 18




amendments made by the USA PATRIOT Improvement and Reauthorization Act of 2005, Pub. L.

No. 109-177, 120 Stat. 192 (2006), do not support the unlikely inference that Congress intended

to transform a previously “jurisdictional” requirement into something else—thereby minting a new

mens rea requirement and jeopardizing the enforcement of existing provisions—without ever

saying so. Simply put, those amendments do not bear the weight that Groseclose places on them.

I.     GROSECLOSE CORRECTLY IDENTIFIES A CRITICAL ASPECT OF THE
       QUESTION PRESENTED

       Judge Cooper’s decision in Groseclose helpfully focuses the analysis on a critical ground

to resolve the question presented: whether the requirement that “the President or other person

protected by the Secret Service [wa]s or w[ould] be temporarily visiting” the restricted building or

grounds (hereinafter, the “federal-protectee requirement”) is “jurisdictional” for purposes of mens

rea and United States v. Feola, 420 U.S. 671 (1975).

       At the outset, the Groseclose court correctly observed that the judges in this district have

reached conflicting conclusions on the question whether Section 1752(a)’s “knowingly”

requirement applies to the second component of the federal-protectee requirement, which is set

forth in § 1752(c)(1)(B). On one hand, at least five judges have indicated that the statute does not

require proof of knowledge of the federal-protectee requirement. See United States v. Griffin, No.

21-cr-92 (TNM), ECF No. 106, at 330-332; United States v. Samsel, No. 21-cr-537 (JMC), ECF

No. 313 (provisionally accepting the government’s position); United States v. Eicher, No. 22-cr-

38 (BAH), Trial Tr. at 7-8 (June 14, 2023); United States v. Vo, No. 21-cr-509 (TSC), Trial Tr. at

1199-1200 (Sept. 22, 2023); United States v. Rhine, No. 21-cr-687, ECF No. 104 (Apr. 24, 2023)

(“Nowhere does the statute even suggest that the defendant must know the details of the visit.

Indeed, a contrary reading would defeat the protective purpose of the statute, as some degree of

secrecy is often integral to Secret Service protection.”). On the other hand, three other judges


                                                 2
            Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 3 of 18




(including Judge Cooper in Groseclose) have held that “knowingly” applies to the federal-

protectee requirement. United States v. Hostetter, No. 21-cr-392 (RCL), 2023 WL 4539842

(D.D.C. July 13, 2023); United States, v. Elizalde, No. 23-cr-170 (CJN), 2023 WL 8354932

(D.D.C. Dec. 1, 2023); United States v. Groseclose, No. 21-cr-311 (CRC), ECF No. 99 (D.D.C.

Jan. 5, 2024).

       While Groseclose ultimately reached the wrong conclusion (as explained below),

Groseclose analyzed the question under the appropriate framework, which is dictated by the

Supreme Court’s decisions in Rehaif v. United States, 139 S. Ct. 2191 (2019), and United States

v. Feola, 420 U.S. 671 (1975).

       First, as reflected in Groseclose, Rehaif illustrates the proper inquiry. In Rehaif, the Court

considered the mens rea required under 18 U.S.C. § 924(a)(2) (2019)’s penalty for anyone who

“knowingly violates” subsection 922(g). Subsection 922(g), in turn, makes it unlawful for

prohibited classes of individuals to (among other acts) “possess” a firearm “in or affecting”

interstate commerce. Rehaif held that a violation of Sections 922(g) and 924(a)(2) required proof

that the “defendant knew both that he engaged in the relevant conduct (that he possessed a firearm)

and also that he fell within the relevant status (that he was a felon, an alien unlawfully in this

country, or the like).” 139 S. Ct. at 2194. But, importantly, Rehaif also made clear that the statute’s

knowledge requirement does not extend to the jurisdictional interstate-commerce elements of

§ 922(g), reasoning (and reaffirming) that jurisdictional elements “normally have nothing to do

with the wrongfulness of the defendant’s conduct” and, thus, “are not subject to the presumption

in favor of scienter.” 139 S. Ct. at 2196.

       Section 1752 has a similar structure to the statute in Rehaif and likewise warrants a similar

analysis.    Section 1752(a)(1), similarly to Section 924(a)(2) in Rehaif, criminalizes certain



                                                  3
         Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 4 of 18




“knowing” conduct (i.e., the entering or remaining without lawful authority in a restricted building

or grounds). And Section 1752(c)(1), similarly to Section 922(g) in Rehaif, sets the contours of

the offense by (i) defining the substance of the prohibited conduct (i.e., that the trespassed building

or grounds must be “posted, cordoned off, or otherwise restricted”); and (ii) limiting the offense

to instances implicating a federal nexus (“of a building or grounds where the President or other

person protected by the Secret Service or will be temporarily visiting,” 18 U.S.C. § 1752(c)(1)(B)).

       As the government has previously noted (ECF No. 202 at 10), there is no dispute that the

“knowingly” requirement in Section 1752 applies to each of the phrases in the statute’s operative

provision (here, 18 U.S.C. § 1752(a)(1) and (2)), including the statute’s location requirement (i.e.,

“restricted building or grounds”). Nor is there dispute that Section 1752(c)(1)(B) separately

defines that phrase to include, as relevant here, “any posted, cordoned off, or otherwise restricted

area … of a building or grounds where the President or other person protected by the Secret Service

is or will be temporarily visiting.”

       Given the similarity in the statutes’ respective structures, Rehaif supports two conclusions

with respect to 18 U.S.C. § 1752. First, as everyone agrees, Section 1752(a)(1) requires proof of

the defendant’s knowledge that the area is “posted, cordoned off, or otherwise restricted area.”

Second, the “knowingly” requirement extends to the additional federal-protectee requirement in

Section 1752(c)(1)(B) if, and only if, that requirement is not “jurisdictional” in the Rehaif sense.

Groseclose was correct, therefore, in identifying a key (and potentially dispositive) question in this

case: is the federal-protectee element a jurisdictional one for mens rea purposes, or is it a

substantive?

       Second, Groseclose was also correct at the second step: the Supreme Court’s decision in

Feola provides the framework for answering that question. In Feola, the Court considered whether



                                                  4
         Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 5 of 18




assault upon a federal officer while engaged in the performance of his official duties, in violation

of 18 U.S.C. § 111, requires proof of the defendant’s “knowledge that the intended victim is a

federal officer.” 420 U.S. at 672-673. In deciding whether to extend the mens rea requirement to

the federal-victim element, Feola looked to whether the element was “jurisdictional only”—i.e.,

whether the relevant fact “need not be one in the mind of the actor at the time he perpetrates the

act made criminal by the federal statute.” 420 U.S. at 676 n.9.

       Applying this inquiry to Section 111, the Court determined that the government was not

required to prove the defendant’s knowledge that the victim of his assault is a federal officer. The

Court’s reasoning turned on Section 111’s purpose. Feola posited that, if Congress intended

Section 111 “to fill a gap in the substantive law of the States”—i.e., to more severely punish

assaults committed against federal officers—then Section 111 should be treated “as a federal

aggravated assault statute” and read as requiring the added mens rea that typically attaches to

aggravating elements. 420 U.S. at 683. But Feola declined to find such a congressional intent in

Section 111. Rather, relying largely on a letter submitted by the Attorney General in support of

enacting Section 111’s precursor, the Court determined that Congress’ primary intent in enacting

Section 111 was limited: to simply provide a federal forum for the prosecution of those who assault

federal officials, in part out of concern with uneven enforcement by state authorities under existing

state assault statutes. Id. at 684 (“In the congressional mind, with the reliance upon the Attorney

General’s letter, certainty required that these cases be tried in the federal courts, for no matter how

‘respectable and well disposed,’ it would not be unreasonable to suppose that state officials would

not always or necessarily share congressional feelings of urgency as to the necessity of prompt and

vigorous prosecutions of those who violate the safety of the federal officer.”). Because the federal-




                                                  5
         Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 6 of 18




victim element’s function was jurisdictional (as opposed to being a substantive aggravating

element), no mens rea attached to it.

       Just as important in understanding Feola is what the Court did not find dispositive in that

case—i.e., which arguably substantive features did not carry the day. One such feature was

inferences about congressional intent based on nuance in the statute’s penalty structure. At the

time Feola was decided, an unarmed assault of a federal officer in violation of Section 111 was

“punishable by a sentence of three years’ imprisonment and a $5,000 fine”— “a harsher penalty

than [was] typically imposed for an unarmed assault on a private citizen.” 420 U.S. at 702

(Stewart, J., dissenting). And those penalties were also distinct—and different—from the penalties

for garden-variety federal assault within the admiralty, maritime, or territorial jurisdictional of the

United States. Id. at 703 (Douglas, J. dissenting). Indeed, the dissenters in Feola would have

extended the statute’s mens rea requirement to the federal-victim requirement largely on that

ground. Id. at 702-703. But the Court did not. The Court concluded that, Section 111’s unique

(and harsher) penalties notwithstanding, the statute’s federal-victim requirement was

jurisdictional, not an aggravating element, for mens rea purposes.

II.    GROSECLOSE CORRECLTY ANALYZES THE “JURISDICTIONAL” STATUS
       OF SECTION 1752(a)’S PRE-2006 FEDERAL-PROTECTEE REQUIREMENT

       Groselose next concluded that a court considering Section 1752 “as it stood when first

enacted as part of the Omnibus Crime Control Act of 1970, Pub. L. No. 91-644, 84 Stat. 1880,

1891-1892 (1971), … would be hard-pressed to see meaningful daylight between Feola and the

present case.” This, too, is right.

       As Groseclose explained, Section 1752’s legislative history makes clear that Congress was

“motivated by a desire to federalize ordinary state-law offenses in order to achieve more certainty




                                                  6
         Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 7 of 18




and uniformity over security measures involving important federal officers.” Groseclose, at 16.

It continued:

           The Senate Report [accompanying Section 1752’s enactment in 1971]
           explained that the new law was “designed to provide a uniform minimum
           of Federal jurisdiction for Presidential security when the President is on
           temporary visits.” S. Rep. 91-1252, at 6 (1970). Before the enactment of
           § 1752, the report noted, the “Secret Service [had to] rely upon the
           assistance of local authorities to arrest persons who may be guilty of such
           disruptive conduct. In a quieter era, this system worked relatively well. [By
           1970], however, it ha[d] become increasingly difficult to maintain the
           necessary level of security in this method.” Id. at 7. For example, it was
           often “difficult to tell exactly which jurisdiction [bore] the responsibility for
           detention and prosecution. Moreover, each jurisdiction utilize[d] different
           criminal statutes, with different elements of crime, which ma[de] Secret
           Service agents unsure of the legal extent of their authority and ma[de]
           uniform enforcement impossible. Id.

Groseclose, at 16-17 (quoting S. Rep. 91-1252 (1970).

       Other passages in the same Senate Report make Congress’ intent even clearer. See, e.g.,

S. Rep. 91-1252, at 9 (“No longer … will Presidential security depend on differing local

ordinances, some of which may be of dubious constitutionality. Instead, [the bill] will provide for

consistent, uniform enforcement of a narrow, precisely drawn statute that proscribes specific

conduct for the protection of the President”). And, in describing Section 1752’s purpose, the

Senate Report expressly explained that, in the “special case” of “a temporary Presidential visit,”

“where flexibility must be maintained and there is insufficient time to publicly designate restricted

areas by regulation,” “knowing and willful entry or presence in a posted, cordoned off, or otherwise

restricted area is made unlawful.” S. Rep. 91-1252, at 9 (emphasis added). The fact that the Senate

Report described what must be “knowing and willful” as the entry into the restricted area—but

made no reference to a protectee’s visit—strongly and singularly supports the view that the federal-

protectee requirement was not subject to the mens rea requirement. In sum, Section 1752’s history




                                                  7
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 8 of 18




is, if anything, significantly more conclusive than the limited historical evidence the Court found

dispositive with respect to Section 111 in Feola.

       In reaching that conclusion, Groseclose also weighed the fact that, just as in Feola,

“‘almost everything proscribed [under Section 1752] [was already] outlawed in some form or other

at the State or local level.’” Groseclose, at 17 (quoting S. Rep. 91-1252, at 9); see also id.

(“‘Subsection (a) makes these activities a Federal offense so that the Secret Service has the

authority to prevent such activities.’”). Furthermore, to the extent a comparison between penalties

is meaningful under Feola (but see supra), Groseclose observed that “the original penalty for

violating § 1752 was capped at six months’ imprisonment, see 18 U.S.C. § 1752(b) (1970),” which

is consistent with the maximum “penalty commonly leveled against ordinary trespassers, see, e.g.,

D.C. Code § 22-3302,” and the maximum penalty for “those who disrupt congressional

proceedings during the normal course of business when no Secret Service protectee is visiting, see

40 U.S.C. § 5109(b).” Id.

III.   CONGRESS’    MODEST    AMENDMENTS      IN   2006   DID  NOT
       “RECONCEPTUALIZE[]” SECTION 1752, AND GROSECLOSE’S CONTRARY
       CONCLUSION IS UNPERSUASIVE

       After helpfully (and correctly) framing the issue, and after helpfully (and correctly) finding

the pre-2006 version of 1752 analogous in all respects relevant under Feola to Section 111,

Groseclose nonetheless discerned a dispositive “reconceptualiz[ation]” of 1752 in Congress’s

2006 amendments. In the view of the Groseclose court, that reconceptualization transformed the

federal-protectee requirement from jurisdictional to substantive. That conclusion is incorrect, and

none of the considerations identified in Groseclose as supporting it is persuasive. As explained

below, the limited amendments made by the USA PATRIOT Improvement and Reauthorization

Act of 2005, Pub. L. No. 109-177, 120 Stat. 192 (2006), simply do not bear the weight that



                                                 8
         Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 9 of 18




Groseclose places on them. Instead, Groseclose’s perceived reconceptualization is not actually

borne out by the record.

       At the outset, Groseclose references (at 8) the fact that Congress “redraft[ed] the statute to

place the three triggering conditions into the definitional section.” It is not clear how much

analytical weight Groseclose attached to that observation, but, regardless, the observation is both

incorrect and unavailing. The 2006 enactment did not move “the three triggering conditions” (i.e.,

the conditions now in Section 1752(c)(1)(A) to (C)) into any “definitional section.” See 18 U.S.C.

§ 1752 (2006). In fact, that definitional section (18 U.S.C. § 1752(c)(1)) was not enacted until

2012. See Pub. L. 112-98, § 2, 126 Stat. 26 (Mar. 8, 2012). As relevant here, the 2006 amendments

simply (i) added a new subsection (then-numbered 1752(a)(2)) criminalizing trespass in areas

restricted in connection with “National Special Security Events (NSSEs) … that occur when the

Secret Service protectee is not in attendance,” H.R. Conf. Rep. No. 109-133 (2006) (emphasis

added), 2006 U.S.C.C.A.N. 184, 203; and (ii) enhanced the unaggravated maximum penalties

under the statute from 6 months to a one year. In any event, chronological errors aside, it is not

clear—nor does Groseclose explain—why the relocation of certain elements to a separate

definitional section would transform the federal-protectee requirement from jurisdictional to

substantive.

       Next, Groseclose (i) observes that, in 2006, Congress increased the maximum penalties for

1752 from six months to one year; and (ii) points to legislative history suggesting that Congress

did so to bring the penalties in line with the penalties for interfering with Secret Service personnel

generally (18 U.S.C. § 3056). Groseclose, at 18. This, in Groseclose’s view, transformed the

character of the statute from “duplicating state prohibitions to confer federal jurisdiction” to “an

aggravated offense leveling an added penalty against those who endanger Secret Service



                                                  9
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 10 of 18




protectees.” Id. at 18. But this theory misconstrues both the Feola inquiry and the 2006

amendments.

       Begin with Feola. In Feola, too, the maximum penalties imposed by Section 111’s

predecessor (three years) were “harsher … than [was] typically imposed for” the corresponding

unaggravated state-law crime (there, “unarmed assault on a private citizen”). 420 U.S. at 702

(Stewart, J., dissenting). Further, in Feola, too, the penalties were out of line with the comparable

federal assault offenses based on a different federal nexus (i.e., federal assault within the admiralty,

maritime, or territorial jurisdictional of the United States). Id. at 703 (Douglas, J. dissenting).

Indeed, the Feola dissenters pointed to these very penalty features as grounds to require knowledge

of the officer-victim’s federal status. The Court, however, found the opposite, determining that

Section 111’s officer-victim requirement was jurisdictional and did not require scienter. The same

outcome must follow here, where the penalty discrepancies with comparable statutes are, if

anything, much less significant than Feola.

       Groseclose’s inferences from the 2006 amendments are also strained in their own right.

The 2006 Conference Report accompanying the amendments—which Groseclose cites as proof of

its underlying conclusion (at 18)—indicates that the lead change in the 2006 amendments was the

addition of a new provision (then codified as subsection 1752(a)(2)) that “expand[ed] 18 U.S.C.

§ 1752 to criminalize such security breaches at [National Special Security Events] NSSEs that

occur when the Secret Service protectee is not in attendance.” H.R. Conf. Rep. 109-333, at 110

(emphasis added); see also Pub. L. 109-177, Title VI, § 602(a)(1)(C), (b)(1), 120 Stat. 252 (Mar.

9, 2006). The fact that the 2006 statute’s flagship innovation was targeted at events where the

presence of Secret Service protectees was not required negates, rather than supports, Groseclose’s

theory that the amendments were intended to create “an aggravated offense leveling an added



                                                  10
          Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 11 of 18




penalty against those who endanger Secret Service protectees.”         Groseclose, at 18 (emphasis

added).

          Furthermore, that key innovation—i.e., the introduction of protections for certain Secret

Service events regardless of a protectee’s presence—reasonably explains the 2006 statute’s

accompanying increase in statutory penalties. Having created a new subsection to protect certain

Secret Service events more generally—events at which, again, no protectee is necessarily

present—Congress had good reason to realign the statutory maximum penalty available under the

overall statute, so that violators of the new subsection would be subject to the same penalties as

those who violated 18 U.S.C. § 3056(d)—a provision that admittedly serves similar purposes to

the new prohibition enacted in 2006. Cf. Groseclose, at 18. But the fact that Congress increased

the statutory maximum to accommodate a new offense codified under 18 U.S.C. § 1752—an

offense that turned (and still turns) on a different federal nexus tethered to “events designated as a

special event of national significance,” 18 U.S.C. § 1752(c)(1)(C)—does not mean that Congress

intended a wholesale (and undisclosed) “reconceptualiz[ation]” of the pre-existing prohibitions.

          In reality, Groseclose’s reliance on Section 1752’s penalties is unconvincing on its own

terms. Groseclose observes that the District of Columbia generally sets a statutory maximum of

six months for unaggravated trespass whereas the 2006 amendments increased the statutory

maximum for unaggravated violations of Section 1752(a) to one year. Groseclose, at 17 (citing

D.C. Code § 22-3302)). But other jurisdictions impose more significant penalties for comparable

forms of trespass. In Virginia, for example, the offenses of “trespass after having been forbidden

to do so” and “trespass on posted property” are punishable for up to 12 months in jail. See Va.

Code Ann. § 18.2-119 (making “[t]respass after having been forbidden to do so” a “Class 1

misdemeanor”), § 18.2-134 (making “[t]respass on posted property” a “Class 1 misdemeanor”),



                                                 11
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 12 of 18




§ 18.2-11(a) (Class 1 misdemeanors punishable by up to twelve months in jail). And, regardless,

if one puts aside the federal-nexus element in Section 1752(c)(1)(A) through (C), the trespass

conduct prescribed under Section 1752(a)(1) is—and should be treated as—more aggravated than

lesser forms of trespass involving, say, certain open lands. See, e.g., Va. Code Ann. § 18.2-132

(making “[t]respass by hunters and fishers” on “the lands, waters, ponds, boats or blinds of

another” a “Class 3 misdemeanor”), § 18.2-11(c) (Class 3 misdemeanors punishable by a fine of

not more than $500). The reason is straightforward: regardless of the federal-nexus requirement

in § 1752(c)(1)(B), a trespass under Section 1752(a)(1) always requires the added proof that the

area was “any posted, cordoned off, or otherwise restricted area.” By overlooking that feature,

Groseclose’s penalty comparison mixes apples and oranges.

       The “reconceptualiz[ation]” perceived by Groseclose also gives rise to at least two other

problems. For one thing, it fails to account for the fact that, since Feola, a similar legislative

evolution happened with respect to Section 111, and the increased penalties there did not alter the

mens rea required pursuant to that statute. In 2002, the Federal Judiciary Protection Act, Pub. L.

No. 107-273, § 11008(a), 116 Stat. 1758, increased the maximum sentences for violations of 18

U.S.C. § 111(a) and (b) from three years to eight years and from ten years to twenty years,

respectively. Moreover, as part of the same 2002 law, Congress directed the Sentencing

Commission to review and amend the guidelines applicable to violations of Section 111 to ensure

they were “adequate to ensure punishment at or near the maximum penalty for the most egregious

conduct covered by the offense.” Pub. L. No. 107-273, § 11008(e). In response, the Sentencing

Commission adopted Amendment 663, which became effective in 2004, and which increased the

“official victim” enhancement under U.S.S.G. § 3A1.2 from three levels to six levels where the

offense guideline is from Chapter Two, Part A. See United States v. Curtis, 799 F. App’x 639,



                                                12
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 13 of 18




641 (10th Cir. 2020) (describing revisions to the Sentencing Guidelines). And yet, two decades

later, Feola’s holding that a defendant need not know whether his or her victim is a federal officer

remains good law. If increasing the penalties for violations of Section 111 by five years (or ten,

for aggravated assault under Section 111(b)) did not create an expanded mens rea requirement for

Section 111, there is no reason why a mere six-month increase should have done so with respect

to Section 1752. It is simply too strained to think that Congress, without ever saying so, took

indirect action to raise the mens rea requirements—narrowing the statute and jeopardizing

enforcement1—by amending the statute’s penalties and adding another category of offenses—all

measures that broadened the statute and fostered enforcement. Groseclose identifies no other

statute that has ever been “reconceptualized” in such a way.

       Groseclose’s reliance on the Sentencing Guidelines is unavailing for similar reasons.

Groseclose posits that the presence of a protectee is not “jurisdictional” in part because “the

[Guidelines] offense is bumped by 2 levels if the trespass occurred at ‘any restricted building or

grounds’ and by 4 levels if it happened ‘at the White House or its grounds, or the Vice President’s



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   As the government has noted previously, requiring knowledge of a protectee’s presence
significantly narrows enforcement. It is one thing to prove an individual’s knowledge of the
President’s whereabouts, but another thing entirely to require that the government prove that the
defendant is aware of other Secret Service protectees, such as spouses of visiting foreign
dignitaries or the family members of a Vice President. It would also be difficult to show that a
defendant knows that someone protected by the “Secret Service” is in an area—which Groseclose
proposes as an alternative—as a dignitary’s protectee status is not often known (aside for the
President, Vice President, and some of their family members), and Secret Service agents are,
generally, not readily identifiable to the public. Under Groseclose, a defendant breaching a
restricted area and even committing an act of violence there (18 U.S.C. § 1752(a)(4)) escapes
liability if he did not know, for example, that the Vice President’s daughter was in the area, or that
the parked cars of a motorcade indicated that someone being protected by the Secret Service (as
opposed to some other agency) was there. Even in a case involving an area being visited by a
more well known protectee, proving not just that a defendant trespassed and that the defendant
knew an area was blocked off, but also that she or he actually knew why the area was restricted—
in what is usually a misdemeanor case—could pose a challenge in many instances.


                                                 13
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 14 of 18




official residence or its grounds.’” Groseclose, at 14-15 (citing U.S.S.G. § 2B2.3). But, once

again, the same is true of Section 111. There, too, the Sentencing Commission, carrying out

Congress’s direction, has, since Feola, specifically increased the Guidelines for assaults on federal

officers. See supra. Yet the existence of an official victim enhancement for assaults on federal

officers has not changed the mens rea required for a violation of Section 111. Section 1752 should

be treated no differently.2

       Groseclose is also difficult to reconcile with other post-Feola cases in which courts,

including the Supreme Court, have not applied mens rea requirements to elements that the courts

deemed jurisdictional. Consider, for example, 18 U.S.C. § 641, which makes it a crime to

“embezzle[], steal[], purloin[ing], or knowingly convert[] to [one’s] use or the use of another ...

any ... thing of value of the United States.” Presented with the mens rea question at issue here,

courts, including the D.C. Circuit, have held that proof that “the statutory requirement that the

stolen property in fact belonged to the Government was to lay the basis for federal jurisdiction and

that the defendant’s knowledge of the jurisdictional fact is irrelevant.” United States v. Jermendy,

544 F.2d 640, 641 (2d Cir. 1976) (citing Feola); see also United States v. Baker, 693 F.2d 183,

186 (D.C. Cir. 1982) (“It is now well established that the statutory requirement that the stolen

property belonging to the government merely furnishes the basis for federal jurisdiction and that

defendant's knowledge of this jurisdictional fact is irrelevant.” (citing cases)); United States v.

Crutchley, 502 F.2d 1195, 1201 (3d Cir. 1974); United States v. Jeffery, 631 F.3d 669, 675-676



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  That the Guidelines do not dictate the meaning of Congress’ enactments is not surprising. The
Sentencing Commission “is a permanent body that can amend the guidelines each year” on the
basis of, among other things, evolving empirical data. U.S.S.G. § 1A1.5. The meaning of federal
statutes, in contrast, is ordinarily fixed at the time of enactment and does not change absent
amendment. See, e.g., Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1738 (2020) (courts
“normally interpret[] a statute in accord with the ordinary public meaning of its terms at the time
of its enactment.”).
                                                 14
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 15 of 18




(4th Cir. 2011); United States v. Boyd, 446 F.2d 1267, 1274 (5th Cir. 1971); United States v. Sivils,

960 F.2d 587, 595 (6th Cir. 1992); United States v. Hicks, 15 F.4th 814, 817 (7th Cir. 2021); United

States v. Denmon, 483 F.2d 1093, 1094-1095 (8th Cir. 1973); United States v. Howey, 427 F.2d

1017, 1018 (9th Cir. 1970); United States v. Speir, 564 F.2d 934, 938 (10th Cir. 1977) (en banc).

       The same is true of 18 U.S.C. § 1361, which makes it a crime to “willfully injure[] or

commit[] any depredation against any property of the United States.” There, too, presented with

the same mens rea question, court have held that proof of knowledge that the property belongs to

the government is not required. See, e.g., United States v. LaPorta, 46 F.3d 152, 159 (2d Cir.

1994); United States v. Krause, 914 F.3d 1122, 1127 (8th Cir. 2019). Stealing what one knows to

be public property, or destroying or damaging what one knows to be public lands or government

property could be viewed, in some ways, as a more aggravated offense than doing such things

without such knowledge—just like trespassing in a restricted area where one knows a protectee is

or will be present. But, as the case law confirms, the fact that an element could arguably be

conceived as aggravating in some way is not enough to displace its jurisdictional status for mens

rea purposes.

       Finally, consider the Supreme Court’s decision in United States v. Yermian, 468 U.S. 63,

64 (1984). Yermian extended Feola to prosecutions under 18 U.S.C. § 1001, which, at the time,

criminalized “[w]hoever, in any matter within the jurisdiction of any department or agency of the

United States[,] knowingly and willfully” made false statements, among other conduct. Id. at

68. The Court concluded that a defendant need not know that the false statement concerned a

matter under federal jurisdiction, finding its reading supported by “plain language”—because the

statute did not include an express requirement that the defendant know that the matter was within




                                                 15
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 16 of 18




federal jurisdiction—and by the absence of support in the legislative history for such a reading. Id.

at 68, 75.

        Nor can Yermian’s outcome be discounted because, in the version of 18 U.S.C. § 1001 at

issue in Yermian, the federal-nexus requirement preceded (as opposed to follow) the word

“knowingly.” In considering the parties’ arguments, the Yermian Court also considered an earlier

version of the statute that tracked the same structure of 1752. See 468 U.S. at 72 (quoting Act of

June 18, 1934, ch. 587, 48 Stat. 996, which criminalized “[w]hoever shall knowingly and willfully

falsify or conceal or cover up by any trick, scheme, or device a material fact, or make ... any false

or fraudulent statements or representations, … in any matter within the jurisdiction of any

department or agency of the United States”). The Court found that language “equally clear,” id.

at 69 n.6, reasoning that “[n]oticeably lacking from this enactment is any requirement that the

prohibited conduct be undertaken with specific intent to deceive the Federal Government, or with

actual knowledge that false statements were made in a matter within federal agency

jurisdiction.” Id. at 72-73; see also id. at 69 n.6 (observing that “[t]he jurisdictional language of

that provision appeared as a separate phrase at the end of the description of the prohibited

conduct”). The same logic applies here.

        Finally, Groseclose dismisses the government’s argument that extending the mens rea to

the federal-protectee requirement is not necessary to separate culpable from innocent conduct as

“flip[ping] the rules of statutory interpretation on their head” (Groseclose, 10), suggesting that this

principle only applies when a statute is silent on mens rea or when the text is ambiguous. But as

cases applying Feola show, courts examine the line between culpable and innocent conduct as part

of their analysis when determining whether a statute is “jurisdictional only,” including for statutes

that do include an express mens rea. See, e.g., Jeffery, 631 F.3d at 677 (determining that



                                                  16
        Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 17 of 18




requirement that property belong to “the United States” in prosecution under 18 U.S.C. 641 was

“jurisdictional only,” following Feola because, regardless of knowledge of the property’s

ownership, Jeffery’s “conduct was nonetheless wrongful, because he took something that did not

belong to him”); United States v. Allen, 788 F.3d 61, 69 (2d Cir. 2015) (in statute criminalizing

“willfully” setting fire to federal land, observing that “[a]rson is hardly otherwise innocent

conduct” and declining to require knowledge that the land is federal). To the extent it is necessary

to resolve any lingering ambiguity, the same approach would be appropriate here.3

                                         CONCLUSION

       For the foregoing reasons and the reasons stated in prior filings, the defendant’s motion

should be denied.

                                              Respectfully Submitted,

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3
  Groseclose also invoked, in passing, the rule of lenity. Groseclose, at 20. But the rule of lenity
applies only if, “after considering text, structure, history, and purpose, there remains a grievous
ambiguity or uncertainty in the statute, such that the Court must simply guess as to what Congress
intended.” United States v. Castleman, 572 U.S. 157, 172-173 (2014) (citation omitted); see
Shular v. United States, 140 S. Ct. 779, 789 (2020) (Kavanaugh, J., concurring). And for the
reasons above, no such grievous ambiguity exists here.
                                                17
Case 1:21-cr-00123-PLF Document 204 Filed 01/11/24 Page 18 of 18




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                               18
